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    8
    9                        UNITED STATES DISTRICT COURT
   10                      CENTRAL DISTRICT OF CALIFORNIA
   11   ZOX LLC, a California limited          Case No. 2:21-cv-01609-PA-SK
        liability company,
   12
                Plaintiff / Counterdefendant   Hon. Percy Anderson
   13
              v.                               DEFENDANTS’ EVIDENTIARY
   14
                                               OBJECTIONS TO PLAINTIFF’S
        JOHN ZOX, an individual, DANIEL
   15                                          STATEMENT OF GENUINE
        ZOX, an individual, and ANDREW
                                               ISSUES IN PLAINTIFF’S
   16   ZOX, an individual, and DOES 1-10,
                                               MOTION FOR SUMMARY
        inclusive,
   17                                          JUDGMENT
               Defendants / Counterclaimants
   18
                                               ORAL ARGUMENT REQUESTED
   19   JOHN ZOX, an individual, DANIEL
        ZOX, an individual, and ANDREW         Motion Date:       January 10, 2022
   20
        ZOX,                                   Time:              1:30 p.m.
   21        Third-Party Plaintiffs,           Location:          Ctrm. 9A
   22         v.                               Final Pretrial Conf.: Feb. 4, 2022
   23                                          Jury Trial: March 8, 2022
        JASON KUIPERS, an individual,
                                               Proposed Trial Date: April 19, 2022
   24   BRANDON KUIPERS, an individual,
        and JORDAN KUIPERS, an
   25
        individual
   26         Third-Party Defendants
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    1         Pursuant to the Court’s June 2, 2021 Civil Trial Scheduling Order, ¶ 5,
    2   Defendants John Zox, Daniel Zox, and Andrew Zox (collectively “Zox
    3   Brothers”) submit the following evidentiary objections to the Plaintiff’s
    4   Statement of Uncontroverted Facts in Support of its Motion for Partial
    5   Summary Judgment.
    6          EVIDENTIARY OBJECTIONS TO PLAINTIFF ZOX LLC’S
    7    STATEMENT OF UNCONTROVERTED FACTS IN SUPPORT OF ITS
    8                     MOTION FOR SUMMARY JUDGMENT
    9                                        (Dkt. 70-1)
   10         Separate Statement Paragraph 53: Objection to the statement in its
   11   entirety.   The Kuipers attempt to support to that statement by citing to
   12   paragraphs 7-31 of the Declaration of Jason Kuipers. However, no portion of
   13   these paragraphs of Mr. Kuipers’ declaration relates to, or even mentions,
   14   whether Zox LLC has used ZOX to refer to John Zox or his name or likeness.
   15   Accordingly, no evidence supports the statement.
   16
   17         Separate Statement Paragraph 54: Objection to the supporting
   18   declaration of Jason Kuipers at paragraph 35 on the grounds that Mr. Kuipers’
   19   reliance on and references to internet articles and interviews to prove that the
   20   ZOX band broke up is hearsay not falling within any exception. Further, Mr.
   21   Kuipers lacks personal knowledge regarding the activities of the ZOX band.
   22   Fed. R. Evid. 602, 801, 802.
   23
   24         Separate Statement Paragraph 55: Objection to the underlined portion
   25   of the statement that the “Zox band claims that, while it was active, it sold t-
   26   shirts with various designs comprising ‘ZOX’ on the front, but such use is
   27   ornamental in nature, not being used as a source identifier.” The Kuipers
   28   attempt to support to that statement by citing to paragraph 38 of the Declaration
                                                  -1-
                     Defendants’ Evidentiary Objs To Plaintiff’s Statement of Uncontroverted Facts
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    1   of Jason Kuipers.    However, no portion of paragraph 38 of Mr. Kuipers’
    2   declaration relates to, or even mentions, whether the ZOX designs on t-shirts
    3   were ornamental or being used as a source identifier. Accordingly, no evidence
    4   supports the statement.
    5
    6         Separate Statement Paragraph 56: Objection to the supporting
    7   declaration of Jason Kuipers at paragraph 35 on the grounds that Mr. Kuipers’
    8   reliance on and references to internet articles and interviews to prove that the
    9   ZOX band broke up and that the band has not performed anywhere live since
   10   2014 is hearsay not falling within any exception. Further, Mr. Kuipers lacks
   11   personal knowledge regarding the activities of the ZOX band. Fed. R. Evid.
   12   602, 801, 802.
   13
   14         Separate Statement Paragraph 59: Objection to the supporting
   15   declaration of Jason Kuipers at paragraph 38 on the grounds that Mr. Kuipers’
   16   lacks personal knowledge regarding the relationship between the ZOX band and
   17   SideOneDummy Records. Fed. R. Evid. 602.
   18
   19         Separate Statement Paragraph 64: Objection to the statement in its
   20   entirety. The Kuipers attempt to support to that statement by citing to paragraph
   21   43 of the Declaration of Jason Kuipers. However, no portion of paragraph 43 of
   22   Mr. Kuipers’ declaration relates to, or even mentions, the existence of any
   23   agreements among the Zox Brothers and their use of the ZOX mark. The
   24   paragraph relates to an entirely different topic.         Accordingly, no evidence
   25   supports the statement.
   26
   27         Separate Statement Paragraphs 72-77: Objection to the statements in
   28   their entirety. The Kuipers attempt to support each of statements 72-77 by
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                    Defendants’ Evidentiary Objs To Plaintiff’s Statement of Uncontroverted Facts
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    1   citing to paragraphs 74-76 of the Declaration of Jason Kuipers. Mr. Kuipers’
    2   declaration, however, does not contain any paragraphs 74-76. Accordingly, no
    3   evidence supports these statements.
    4                                         Respectfully submitted,
    5 Dated: December 27, 2021                By: /s/ Lauren Keller Katzenellenbogen
                                              Michael K. Friedland
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                    Defendants’ Evidentiary Objs To Plaintiff’s Statement of Uncontroverted Facts
